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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

OAKLEY, INC.,
                                                    Case No. 20-cv-03542
                        Plaintiff,
                                                    Judge Robert W. Gettleman
       v.
                                                     Magistrate Judge Young B. Kim
ALL-INBIKE, et al.,

                        Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Oakley, Inc.

(“Plaintiff”) hereby dismisses this action with prejudice against the following Defendants:

               Defendant Name                                          Line No.
                  circle_plum                                             22
                 goodjob2016                                              25
             Yaya boutique jewelry                                        49

Dated this 14th day of August 2020.          Respectfully submitted,

                                             /s/ Jake M. Christensen
                                             Amy C. Ziegler
                                             Justin R. Gaudio
                                             Jake M. Christensen
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